Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 1 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 2 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 3 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 4 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 5 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 6 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 7 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 8 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 9 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 10 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 11 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 12 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 13 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 14 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 15 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 16 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 17 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 18 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 19 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 20 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 21 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 22 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 23 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 24 of 25
Case 3:19-cv-08157-VC   Document 42   Filed 11/19/20   Page 25 of 25
